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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT OF FLORIDA
                        CASE NO .:16-CR-20840-H UCK/M CALlLEY

  UN ITED STA TES O F A M ER ICA ,

        Plaintiff,



  DIDIER CASTRO,

        D efendant.


                O R D ER AD O PT IN G R EPO RT AN D REC O M M EN D A TIO N

        THIS CA U SE com es before the Court upon M agistrate Judge John J. O 'Sullivan's
 Reportand Recommendationon ChangeofPlea(D.E.1901,whichwasissuedon July l7,2017.
  In the Report and Recom mendation, M agistrate Judge O'Sullivan recomm ends that the
  Defendant,Didier Castro,be found to have freely and voluntarily entered a plea of guilty to
  Count Two of the Second Superseding Indictment (D.E. 691,which charges Castro with
 conspiracy to possess w ith intent to distribute a m ixture and substance containing a detectable
 am ount of N -Ethylpentylone, a controlled substance analogue as defined in Title 21, U nited
  States Code,Section 802(32)(A),with intentforhuman consumption asprovided in Title 21,
 U nited States Code, Section 8 13, in violation of Title 2 1, United States Code, Sections 846,
 841(a)(1),and(b)(l)(C). M agistrateJudgeO'Sullivan recommendsthatCastro'sguilty pleabe
 accepted,thatCastro be adjudicated guilty ofthe offenseto which the plea ofguilty hasbeen
 entered,and that a sentencing hearing be conducted for finaldisposition ofthis m atter. Castro
 and the Government were afforded the opportunity to tile objections to the Report and
 Recom m endation,butnone w ere filed. A ccordingly,having reviewed the record de novo,it is
 hereby
        O R DE RED AN D AD JU DG ED that M agistrate Judge O 'Sullivan's Report and
 Recommendation onChangeofPlea(D.E.1901isADOPTED AND APPROVED initsentirety.
 Castro'sguiltypleaisaccepted,and heisadjudicated guiltyofconspiracytopossesswith intent
 to distribute a mixture and substance containing a detectable amotmt ofN -Ethylpentylone,in
 violation ofTitle21,United StatesCode,Sections846,841(a)(1),and (b)(1)(C). A sentencing
 hearing w illbe held before the Honorable PaulC .H uck,at the W ilkie D .Ferguson,Jr.U nited
 States Courthouse,400 N orth M iam i Avenue, 13th Floor,Courtroom 13-2, M inm i, Florida,on
 T hursday,Septem ber 28,2017,at9:00 A .M .

        DONE AND ORDERED in Chambersin M iam i,Florida,on July J/,2017.
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                                                     ..       .   .y..yv .+ v ,.'-
                                                    Pa 1C H uck                --
                                                    U nited StatesD istrictJudge
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  C opies provided to:

  CounselofRecord
  U .S.PretrialServices
  U .S.Probation
